                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                           DOCKET NO. 3:94-cr-00126-MOC

UNITED STATES OF AMERICA,                       )
                                                )
                                                )
                                                )
Vs.                                             )                      ORDER
                                                )
MAJOR THOMAS III,                               )
                                                )
                Defendant.                      )



        THIS MATTER is before the court on defendant’s second Motion to Terminate

Supervised Release. Last year, defendant filed his first motion for early termination to which the

government responded, informing the court that defendant had a number of violations, and that

the supervising officer does not recommend early termination. In denying that motion, the court

advised defendant that it was without prejudice as to a later request being made by his

supervising officer. In the instant motion, defendant makes no mention as to whether his

supervising officer now supports his request.

                                          ORDER

        IT IS, THEREFORE, ORDERED that defendant’s second Motion to Terminate

Supervised Release (#469) is DENIED WITHOUT PREJUDICE, with leave granted to refile

such motion if he can show support for such request from his supervising officer Jason Kemp.

            Signed: May 23, 2014




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